  Case 3:19-cv-00764-X Document 286 Filed 05/18/20                  Page 1 of 6 PageID 9701



                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

VEROBLUE FARMS USA, INC.,                         §
  Plaintiff,                                      §
                                                  §
 v.                                               §
                                                          Civil Action No. 3:19-CV-00764-X
                                                  §
LESLIE A. WULF, ET AL.,                           §
   Defendants.                                    §
                                                  §

      THIRD-PARTY DEFENDANT ALDER AQUA, LTD.’S POST-HEARING
  BRIEF REGARDING ORDER OF CONSIDERATION OF DISPOSITIVE MOTIONS

       Third-Party Defendant Alder Aqua, Ltd. (“Alder Aqua”) files its Post-Hearing Brief

Regarding Order of Consideration of Dispositive Motions, and states:

       During the May 13, 2020 oral argument on Third-Party Defendant Alder Aqua’s Motion

to Dismiss (Dkts. 219 and 220) and Motion to Strike (Dkts. 223 and 224) (collectively, the

“Motions”), the Court invited the parties to submit supplemental authority regarding the Court’s

potential order of consideration of the dismissal grounds. Alder Aqua raised the following

dismissal grounds in its Motions:

       •   Rule 12(b)(1) for lack of standing as to Counts 5-9;
       •   Rule 12(b)(5) for improper service as to all Counts;
       •   Rule 12(b)(6) on multiple grounds as to all Counts; and
       •   Rule 14(a)(4) for improper impleader as to all Counts.
       Alder Aqua contends that the Rule 12(b)(1) ground to dismiss Counts 5-9 should be

considered first because it involves the threshold question of Third-Party Plaintiffs’ standing to

bring alter ego contract claims. And standing is a question of subject-matter jurisdiction. Cobb v.

Central States, 461 F.3d 632, 635 (5th Cir. 2006); Domain Vault, LLC v. McNair, No. 3:14-CV-

1126-L, 2015 U.S. Dist. LEXIS 130449, at *4 (N.D. Tex. Sept. 28, 2015). As briefed in its
    Case 3:19-cv-00764-X Document 286 Filed 05/18/20                   Page 2 of 6 PageID 9702



Motion, Alder Aqua contends Third-Party Plaintiffs lack standing to assert alter ego claims

because those claims belonged to the VBF bankruptcy estate. The Fifth Circuit generally requires

that Rule 12(b)(1) motions be considered before considering other Rule 12(b) motions to

dismiss. Cell Sci. Sys. Corp. v. La. Health Serv., No. 18-31034, 2020 U.S. App. LEXIS 8349, *2

(5th Cir. Mar. 17, 2020); Ramming v. U.S., 281 F.3d 158, 161 (5th Cir. 2001).

        Further, as to the priority between a Rule 12(b)(1) motion and a Rule 14 motion, in

United States v. Cabelka, this District stated it would consider first a Rule 12(b)(1) subject-

matter jurisdictional ground before considering a Rule 14 analysis. No. 7:16-cv-00126-O-BP,

2017 U.S. Dist. LEXIS 44314, *15 (N.D. Tex. Feb. 24, 2017) (“The Court will first examine

Thorpe's Motion under Rule 12(b)(1) before turning to the applicability of Rules 12(b)(6) and

14(a)(1).”) (citing Ramming, 282 F.3d at 161). Also, in Vinmar Overseas, Ltd. v. OceanConnect,

LLC, the Court noted (albeit in dicta) that if it lacks subject-matter jurisdiction, then a fortiori it

would lack jurisdiction to entertain a challenge to impleader under Rule 14. No. H-11-4311,

2012 U.S. Dist. LEXIS 169351, *19 n.4 (S.D. Tex. Nov. 29, 2012). For these reasons, Alder

Aqua believes the Court should address Alder’s Rule 12(b)(1) lack of standing ground first,

which if granted, would dismiss Counts 5-9 of the Amended Third-Party Complaint. 1

        After ruling on the Rule 12(b)(1) ground, Alder Aqua respectfully contends the Court

may (and should) next turn to the relief requested under Rule 14 before considering its Rule

12(b)(5) and Rule 12(b)(6) grounds. Although a Rule 12(b)(5) motion implicates personal

jurisdiction, Grant-Brooks v. Nationscredit Home Equity Servs. Corp., No. CIV.A. 3:01-

CV2327R, 2002 U.S. Dist. LEXIS 3340, **7-8 (N.D. Tex. Feb. 28, 2002), this District has


1
  Alder posits a Rule 14 dismissal would be appropriate for dismissal of remaining Counts 1-4 should its
Rule 12(b)(1) ground be granted, and for dismissal of Counts 1-9 should its lack of standing argument not
succeed.

ALDER AQUA, LTD.’S SUPPLEMENTAL BRIEF REGARDING
ORDER OF CONSIDERATION OF ALDER AQUA’S DISPOSITIVE MOTIONS                                       PAGE 2
    Case 3:19-cv-00764-X Document 286 Filed 05/18/20                  Page 3 of 6 PageID 9703



previously first decided a Rule 14 motion before reaching a motion based on personal

jurisdiction. See American Express Travel Related Servs, Co. v. Beaumont, No. CIV. A. 3:01-

CV-1869R, 2002 U.S. Dist. LEXIS 18070, *5 (N.D. Tex. Oct. 9, 2002) (deciding Rule 14

motion and dismissing case with prejudice without reaching either Rule 12(b)(2) personal

jurisdiction or Rule 12(b)(6) failure to state a claim). An approach deciding the Rule 14 motion

before addressing the (in)sufficiency of service contention under Rule 12(b)(5) would

furthermore appear to favor judicial efficiency and economy. For instance, as is the case here,

equity would not seem to dictate making Third-Party Plaintiffs first re-serve Alder Aqua

properly under the Hague Convention only to then dismiss their Amended Third-Party

Complaint because it is improper under Rule 14.             Indeed, in a case when the attempted

impleader was improper because it did not attempt to pass on secondary liability (as Alder Aqua

asserts is the case here), the impleader was improper under Rule 14 and the Court lacked

discretion to allow it. Vinmar Overseas, Ltd., 2012 U.S. Dist. LEXIS 169351, *9 (“The court's

discretion may be exercised only when the proposed third-party claim is within the scope of

impleader established by Rule 14(a).”) (citing 6 Wright & Miller, § 1443, at 355 (3d ed. 2010))

(Emphasis added).

        As the third-party claims against Alder Aqua (and the other Third-Party Defendants) are

not within the scope of impleader established by Rule 14, all such claims are improper, and

should respectfully be dismissed for that reason without first deciding the Rule 12(b)(5) and Rule

12(b)(6) grounds. 2




2
    Counsel for Alder Aqua have conferred with counsel for Third-Party Defendants Bjorn Thelander and
Norman McCowan, who concur with Alder Aqua’s position that the Court has authority to adjudicate the
Rule 14 grounds before addressing the respective Rule 12(b)(6), Rule 12(b)(5), or Rule 12(b)(2) grounds,
as applicable.

ALDER AQUA, LTD.’S SUPPLEMENTAL BRIEF REGARDING
ORDER OF CONSIDERATION OF ALDER AQUA’S DISPOSITIVE MOTIONS                                      PAGE 3
 Case 3:19-cv-00764-X Document 286 Filed 05/18/20          Page 4 of 6 PageID 9704



      Dated: May 18, 2020.

                                      Respectfully submitted,

                                      By:    /s/ John P. Kincade
                                            John P. Kincade, Esq.       SB# 11429600

                                      2728 N. Harwood Street
                                      Suite 500
                                      Dallas, Texas 75201
                                      (214) 745-5400
                                      (214) 745-5390 (Fax)
                                      Email: jkincade@winstead.com

                                      Elliot Clark
                                      Texas Bar No. 24012428
                                      eclark@winstead.com
                                      WINSTEAD PC
                                      401 Congress Avenue, Suite 2100
                                      Austin, Texas 78701-3619
                                      512-370-2800
                                      512-370-2850 (Facsimile)

                                      Kevin T. Keen
                                      Texas Bar No. 24113386
                                      kkeen@winstead.com
                                      WINSTEAD PC
                                      24 Waterway Avenue
                                      Suite 500
                                      The Woodlands, Texas 77380
                                      (281) 681-5900
                                      (281) 681-5901 (facsimile)

                                      ATTORNEYS FOR THIRD-PARTY
                                      DEFENDANT, ALDER AQUA, LTD.




ALDER AQUA, LTD.’S SUPPLEMENTAL BRIEF REGARDING
ORDER OF CONSIDERATION OF ALDER AQUA’S DISPOSITIVE MOTIONS                    PAGE 4
 Case 3:19-cv-00764-X Document 286 Filed 05/18/20                Page 5 of 6 PageID 9705




                              CERTIFICATE OF SERVICE

       I certify that on May 18, 2020, this document was filed and served via the Court’s ECF
system and that a copy was sent via electronic mail to all counsel of record for whom the ECF
system did not send an automatic Notice of Electronic Filing.


                                           /s/ John P. Kincade
                                          One of Counsel




ALDER AQUA, LTD.’S SUPPLEMENTAL BRIEF REGARDING
ORDER OF CONSIDERATION OF ALDER AQUA’S DISPOSITIVE MOTIONS                            PAGE 5
 Case 3:19-cv-00764-X Document 286 Filed 05/18/20      Page 6 of 6 PageID 9706




ALDER AQUA, LTD.’S SUPPLEMENTAL BRIEF REGARDING
4839-3851-6668v.1 5/15/2020
ORDER OF CONSIDERATION OF ALDER AQUA’S DISPOSITIVE MOTIONS                PAGE 6
